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  10                      UNITED STATES DISTRICT COURT
  11         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  12
  13 Travelers Commercial Insurance           Case No. 2:21-cv-5832-GW (PDx)
     Company, a Connecticut Corporation,
  14                                          DEFENDANT NEW YORK
                  Plaintiff,                  MARINE AND GENERAL
  15                                          INSURANCE COMPANY’S
           v.                                 FURTHER BRIEFING IN
  16                                          RESPONSE TO TRAVELERS’
     New York Marine and General              “REQUEST FOR FURTHER
  17 Insurance Company, a New York            ORDER”
     Corporation,
  18                                          Hon. George H. Wu
                  Defendant.
  19                                          Status Conference
  20                                          Date: February 17, 2022
                                              Time: 8:30 a.m.
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       DEFENDANT NEW YORK MARINE AND GENERAL INSURANCE COMPANY’S FURTHER BRIEFING IN
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   1 I.      INTRODUCTION
   2         This Court has already carefully considered the briefing and arguments
   3 presented and correctly concluded that the bulk of Travelers’ allegations do not
   4 suffice to state a viable claim for relief. Order, Dkt. #24. In an attempt to salvage its
   5 First Amended Complaint, Travelers now points to an allegation therein asserting that
   6 New York Marine “compounded its breach of the duty to defend by having its
   7 appointed counsel do next to nothing and ‘piggy-back’ on the work of the mutual
   8 insured’s independent defense counsel, paid for by Travelers”, contending that this
   9 allegation suffices to independently support its claim for “equitable contribution.”
  10 FAC, Dkt. #15, at ¶ 18.
  11         During the January 27, 2022 status conference, this court also referred to
  12 paragraph 31.c. of Travelers’ First Amended Complaint which, in relevant part,
  13 alleges that “[a]lternatively, even if the court determines that [New York Marine] was
  14 not obligated to defend the insured with independent defense counsel of the insured’s
  15 choosing, either because California law does not apply or for some other reason, [New
  16 York Marine] still breached its duty to defend the insured by failing to provide it an
  17 adequate defense. This failure includes not paying attorneys to do adequate work to
  18 defend the insured and not replacing its chosen Virginia attorneys at all when they
  19 withdrew from the defense.” (Dkt. #15, 8:4-10)
  20         However, for multiple reasons Travelers’ allegations, regardless of how they
  21 are characterized, fail to state a claim for relief for “equitable contribution.” First, as
  22 a threshold matter, Travelers lacks standing to assert a claim for breach of contract,
  23 whether styled as such or as one for “equitable contribution.” As this Court has
  24 already ruled, Travelers and New York Marine do not share a joint obligation to
  25 defend the insured through independent counsel. Order, Dkt. #24, at p. 8. Further,
  26 defense counsel is an independent contractor and thus their negligence, if any, cannot
  27 give rise to liability on the part of New York Marine.
  28         In sum, Travelers’ allegation amounts to a claim that New York Marine
                                             1
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   1 breached both the terms of its policy and its duty of good faith and fair dealing towards
   2 their mutual insured. However, as this court recognized during the January 27, 2022
   3 status conference, well-established California law makes clear that Travelers, as a
   4 stranger to the New York Marine policy, lacks standing to bring claims on the New
   5 York Marine policy in its own right absent an assignment of rights from the insured—
   6 even if enforcement of the contract would have some ancillary benefit to it. Jones v.
   7 Aetna Cas & Sur. Co., 26 Cal.App.4th 1717, 1724 (1994); January 27, 2022 Hearing
   8 Transcript, Dkt. #37, at pp. 6:14-18 (“Again, I agree with you, that if in fact the
   9 plaintiff is only arguing that because the defense that was provided by the defendant's
  10 Virginia counsel was inadequate, I would agree, the plaintiff has no standing to make
  11 that type of argument.”) Travelers impliedly admits that it has no assignment of rights
  12 from the insured,1 and thus cannot pursue a breach of contract claim in its own right.
  13           It is also the case that under well-established California law, in the absence of
  14 an assignment, one insurer’s claim against another insurer for an alleged breach of the
  15 insurance policy arises only in subrogation. Commercial Union Assur. Cos. v.
  16 Safeway Stores, Inc., 26 Cal.3d 912, 918 (1980). However, Travelers’ claim for
  17 “[e]quitable contribution is entirely different. It is the right to recover not from the
  18 party primarily liable for the loss, but from a co-obligor who shares such liability
  19
       1
  20     In this respect, Travelers sues in its own name, not the insured’s, does not allege an
       assignment, and in response to a direct question from this Court during the
  21   December 13, 2021 motion hearing “why doesn’t the insured sue” in her own name,
  22   Travelers’ counsel impliedly conceded that the insured wasn’t suing in her name by
       asserting instead that “because Travelers stepped up” by reason which the insured has
  23   not been damaged. See generally, FAC; December 13, 2021 Hearing Transcript, Dkt.
  24   #27, at pp. 7:21-8:3. At base, however, the face of the pleadings establish that
       Travelers has sued in its own name, not in the name of or on behalf of its insured;
  25   there is no allegations that Travelers intends to share any recovery with the insured;
  26   and indeed, Travelers’ FAC does not allege that the insured is even aware of the
       present litigation, much less that it ever consulted her in respect to this suit or
  27   somehow acts on her behalf, in her interest, or in furtherance of any interest but its
  28   own.
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   1 with the party seeking contribution.” Fireman’s Fund Ins. Co. v. Maryland Casualty
   2 Co. 65 Cal.App.4th 1279, 1293 (1998). (Emphasis in original.) Thus, Travelers
   3 attempt to couch its “inadequate defense” claim as one for “equitable contribution”
   4 simply does not suffice to establish a viable claim against New York Marine. Rather,
   5 the relevant allegation here — that New York Marine “ha[d] its appointed defense
   6 counsel do next to nothing,” is plainly predicated on New York Marine’s alleged
   7 breach of its duty to the insured to provide a defense under the policy. FAC ¶ 18.
   8 However, California law establishes that an insured who has been provided a full
   9 defense by one insurer has no damages on account of another insurer’s breach of the
  10 duty to defend and thus has no basis to make such a claim. Risely v. Interins. Exch. of
  11 the Auto. Club, 183 Cal.App.4th 196, 210 (2010). Since Travelers admits that it
  12 provided a defense for the insured, it follows that the insured cannot have suffered
  13 any damages as a result of the alleged “inadequate defense” provided by New York
  14 Marine. Id. Thus, even if Travelers’ FAC alleges a claim for “equitable subrogation”,
  15 that claim still would not be viable. Id.
  16         Further, and given Travelers’ failure to plead specific facts supporting its
  17 allegations, it bears noting that Travelers’ allegations simply aren’t true. Rather, as
  18 reflected in the extensive correspondence between New York Marine, its rightfully
  19 appointed defense counsel the firm of Cameron McEvoy PLLC, and Travelers which
  20 the court should consider under the “Incorporation by Reference” doctrine recognized
  21 by the Ninth Circuit, the Cameron McEvoy firm was originally retained by the insured
  22 long before the tender to New York Marine or its acceptance of the defense under a
  23 reservation of rights. In consequence, upon tender, New York Marine retained
  24 Cameron McEvoy, PLLC as defense counsel. In doing so, it clearly expressed its
  25 intent that it act as “lead counsel” in the insured’s defense and have an active role in
  26 the litigation, and fully anticipated that it would do so since they were initially retained
  27 by the insured. Declaration of Sean Roche (“Roche Decl.”), ¶¶ 9-10, Ex. 1;
  28
                                                   3
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   1 Declaration of Steven Battaglia (“Battaglia Decl.”), ¶¶ 5-7, 14, Exs. 1-3.2 The
   2 correspondence and declarations also reflect that New York Marine’s appointed
   3 defense counsel was “cut out” of a participatory role in the insured’s defense by the
   4 independent counsel retained by the insured and by Travelers.               Moreover, the
   5 correspondence and declarations establish that Travelers’ knew of appointed defense
   6 counsel’s difficulties in this regard, but failed to require, as it was legally entitled to
   7 do under Civil Code § 2860(f),3 that independent counsel cooperate with Cameron
   8
       2
         New York Marine submits that Travelers’ allegation that New York Marine “ha[d]
   9
       appointed defense counsel do next to nothing” necessarily implicates New York
  10   Marine’s oral and written instructions to defense counsel. (Emphasis added).
       Accordingly, New York Marine hereby submits the identified declarations and
  11
       accompanying correspondence between itself, its appointed defense counsel and
  12   Travelers, filed herewith as exhibits to the declarations of Mr. Sean Roche of the firm
       of Cameron McEvoy PLLC, and of Mr. Steven Battaglia of ProSight Specialty
  13
       Management Company, Inc., pursuant to the “incorporation by reference” doctrine
  14   which provides that when a “plaintiff’s claims are predicated on a document, the
       defendant may attach the document to his 12(b)(6) motion.” Parrino v. FHP, Inc., 146
  15
       F.3d 699, 706 (9th Cir. 1998); Steinle v. City and Cty. Of San Francisco, 919 F.3d 1154,
  16   1167 fn. 17 (9th Cir. 2019) (stating that the rule “prevents plaintiffs from surviving a
  17   Rule 12(b)(6) motion by deliberately omitting references to documents upon which
       their claims are based”); United States v. Ritchi, 342 F.3d 903, 907-908 (9th Cir. 2003)
  18   (Court may consider evidence outside the pleadings, and documents not included but
  19   incorporated by reference into the complaint, or which are not attached to the complaint
       “if the authenticity of the document is not contested and the complaint necessarily relies
  20   on the document.”); Maloney v. Verizon Internet Servs., Inc., 2009 WL 8129871 *2-
  21   *3 (C.D. Cal. 2009).

  22 Here, the allegations of Travelers’ First Amended Complaint, and particularly
     paragraph 18 which alleges that New York Marine “compounded its breach of the duty
  23 to defend by having its appointed counsel do next to nothing and ‘piggy-back’ on the
  24 work of the mutual insured’s independent counsel, paid for by Travelers,” inherently
     refers to the communications between Cameron McEvoy, PLLC, New York Marine
  25 and Travelers which contradict those allegations.
  26 3
       That provision states “[w]here the insured selects independent counsel pursuant to
  27 the provisions of this section, both counsel provided by the insurer and independent
  28 counsel selected by the insured shall be allowed to participate in all aspects of the
                                                   4
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   1 McEvoy, PLLC. Roche Decl. at ¶¶ 14-16, Exs. 2-3.
   2        Moreover, Travelers’ FAC includes a series of related allegations which, when
   3 read together, may be fairly read to sound in fraud. Specifically, in addition to the
   4 allegation at paragraph 18 of an “inadequate defense”, it also alleges that New York
   5 Marine’s conduct has been “deceptive”, that while purporting to defend New York
   6 Marine “ha[d] its appointed defense counsel do next to nothing and ‘piggy-back’ on
   7 the work of the mutual insured’s independent defense counsel, paid for by Travelers”,
   8 and also that New York Marine “has indicated that after trial, it will likely attempt to
   9 deny coverage for any award against the mutual insured based on its reservation of
  10 rights.” FAC, at ¶¶ 24, 26. Stated otherwise, Travelers is accusing New York Marine
  11 of having represented that it was defending but then “deceptively” not doing so.
  12 However, such conclusory and factually devoid allegations do not satisfy the
  13 heightened pleading standard required by Rule 9(b) of the Federal Rules of Civil
  14 Procedure for claims sounding in fraud, which must instead allege with factual
  15 “specificity” “‘the who, what, when, where, and how’ of the misconduct charged.”
  16 Kearns v. Ford Motor Co., 567 F.3d 1120, 1124 (9th Cir. 2009) (quoting Vess v. Ciba-
  17 Geigy Corp. USA, 317 F.3d 1097, 1102 (9th Cir. 2003)).
  18        Furthermore, as alleged in paragraph 20 of the First Amended Complaint, New
  19 York Marine advised Travelers that “it would pay 50% of the fees and costs incurred
  20 by independent defense counsel on and after November 20, 2020” (¶ 20). In fact,
  21 defense counsel withdrew on November 6, 2020, not November 20, 2020. Roche
  22 Decl. ¶ 19, Ex. 5. And contrary to the assertion in paragraph 31.c. that New York
  23 Marine has not replaced its chosen Virginia attorneys at all when they withdrew
  24 from the defense, New York Marine agreed to participate with Travelers through
  25
  26 litigation. Counsel shall cooperate fully in the exchange of information that is
     consistent with each counsel’s ethical and legal obligation to the insured. Nothing in
  27 this section shall relieve the insured of his or her duty to cooperate with the insurer
  28 under the terms of the insurance contract.”
                                                5
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   1 the Charlson Bredehoft firm, and has paid Travelers $621,693.43 in reimbursement
   2 for sums paid to Charlson Bredehoft for those services following the withdrawal
   3 of Cameron McEvoy, PLLC on November 6, 2020. See January 20, 2022
   4 Declaration of James P. Wagoner, Dkt. #30, at p. 9 ¶2; Battaglia Decl., ¶ 15;
   5 Wagoner Decl. ¶¶ 4-6, Exs. 1-2.
   6           Accordingly, Travelers’ claims should be dismissed notwithstanding the
   7 inadequate, conclusory and completely inaccurate allegations of paragraph 18 and
   8 31.c. Alternatively, at the very least, if the Court believes that Travelers’ allegations
   9 suffice to sustain some element of its claim, it should require that Travelers amend its
  10 complaint to allege the factual detail required by the Federal Rules of Civil Procedure.
  11 II.       LEGAL ARGUMENT
  12           A.    Travelers Lacks Standing To Assert A Claim For Breach Of
                     Contract, Whether Styled As A Claim For “Breach Of Contract” Or
  13                 One For “Equitable Contribution”
  14                 1.    Travelers Cannot Assert A Direct Claim For “Breach Of
                           Contract”
  15
               Under the law of California which, as shown by its January 6, 2022 ruling on
  16
       the motion to dismiss, this Court considers applicable,4 it is axiomatic that
  17
       “‘[s]omeone who is not a party to [a] contract has no standing to enforce the contract
  18
       or to recover extra-contract damages for wrongful withholding of benefits to the
  19
       contracting party.’” Republic Indem. Co. v. Schofield, 47 Cal.App.4th 220, 227 (1996)
  20
       (quoting Hatchwell v. Blue Shield of California, 198 Cal.App.3d 1027, 1034
  21
       (1988)). Moreover, it is equally the case that, “[i]n the insurance context, ‘[a] nonparty
  22
       who is nevertheless entitled to policy benefits, such as an “insured” person under the
  23
       terms of the policy ... has standing only if [he or] she is the claimant whose benefits
  24
  25
       4
  26  See generally, Order, Dkt. # 24, at pp. 4-13; December 13, 2021 Hearing Transcript,
     Dkt. #27, at p. 15:21-24 (“[I]n the tentative we’re assuming the California law
  27 applies. I don’t need to do a choice-of-law [analysis] necessarily. I’m assuming that
  28 California law applies.”).
                                                6
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   1 are wrongfully withheld.’” Id., (quoting Gantman v. United Pac. Ins. Co., 232
   2 Cal.App.3d 1560, 1566 (1991)). California law precludes “enforcement of a contract
   3 by persons who are only incidentally or remotely benefitted by it.” Jones, supra, 26
   4 Cal.App.4th 1717, 1724 (quoting Lucas v. Hamm, 56 Cal.2d 583, 590 (1961)).
   5         Here, Travelers admits that it is not an insured under the New York Marine
   6 policy, and does not contend that it is suing on an assignment of rights from the
   7 insured. See generally, FAC; December 13, 2021 Hearing Trans., Dkt. #27, at pp.
   8 7:21-8:3. Nor does Travelers allege a joint defense agreement or other contract under
   9 which it would be entitled to assert a direct claim against New York Marine for the
  10 defense which is being provided to the insured. See generally, FAC. Accordingly, as
  11 a matter of well-established California law, Travelers has no standing to assert a claim
  12 for a breach of the contract between New York Marine and its insured. See, e.g.,
  13 Seretti v. Superior Nat. Ins. Co., 71 Cal.App.4th 920, 929-931 (1999) (collecting and
  14 discussing California cases illustrating rule that non-insureds without assignments of
  15 rights have no standing to assert claim that an insurer breached its obligation to
  16 provide policy benefits); Austero v. Nat'l Cas. Co., 62 Cal.App.3d 511, 514-517
  17 (1976) (insurer’s contractual duties are owed only to insureds and named third party
  18 beneficiaries as opposed to non-insured “incidental or remote” beneficiaries).
  19
                   2.     Travelers Cannot Salvage Its Contract-Based Allegations By
  20                      Couching Them As A Claim For “Equitable Contribution”
  21         In an attempt to salvage its claims, and while tacitly acknowledging that it
  22 cannot directly assert a claim for “breach of contract”, Travelers instead contends that
  23 the allegation that New York Marine failed to provide an adequate defense for its
  24 insured provides an alternative basis for it to recover on a theory of “equitable
  25 contribution”. See generally, Travelers’ Opp., Dkt. #20, at pp. 20:26-22:2.
  26 Nevertheless, that allegation does not suffice to state a viable claim against New York
  27
  28
                                                 7
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   1 Marine.5
   2                        a.    Travelers And New York Marine Do Not Share A Joint
                                  Obligation To Defend The Insured Through
   3                              Independent Counsel
   4           Under California law, contribution is an equitable remedy which is separate
   5 and independent from the insured’s contractual right to benefits from the targeted
   6 insurer since the insurer seeking contribution is a stranger to the targeted insurer’s
   7 policy and does not “stand in the shoes” of the insured with respect to the insured’s
   8 entitlement to contractual benefits under the targeted policy. See Am. States Ins. Co.
   9 v. Nat'l Fire Ins. Co. of Hartford, 202 Cal.App.4th 692, 700 (2011) (citing both
  10 Maryland Casualty, supra, 81 Cal.App.4th 1082, 1089 and Fireman's Fund Ins. Co.
  11 v. Maryland Casualty Co., 65 Cal.App.4th 1279, 1293, 1294–1295 (1998))) and
  12 explaining “[n]umerous cases have reinforced the principle that an action for equitable
  13 contribution is rooted in equity, not contract.”); Underwriters v. ProBuilders
  14 Specialty Ins. Co., 241 Cal.App.4th 721, 736 (2015) (same).
  15           Critically, a claim for “equitable contribution” is premised on a joint or shared
  16 obligation by insurers which provide coverage on the same level for the same risk.
  17 Truck Ins. Exch. v. Unigard Ins. Co., 79 Cal.App.4th 966, 974 (2000); Maryland Cas.
  18
  19   5
         As an initial matter, to the extent that Travelers contends that its allegation that New
  20   York Marine intentionally told its defense counsel to “do next to nothing and ‘piggy-
       back’ on the work of the mutual insured’s independent defense counsel, paid for by
  21   Travelers” amounts to a valid independent justification for its claim of contribution,
  22   that allegation, on its face, is simply insufficiently pled. As the Supreme Court has
       stated, “[a] claim has facial plausibility when the plaintiff pleads factual content that
  23   allows the court to draw the reasonable inference that the defendant is liable for the
  24   misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). However, the
       allegations of paragraph 18 of Travelers’ FAC are wholly conclusory and without any
  25   averment to facts, or even to Travelers’ “information and belief” underpinned by facts
  26   sufficient to establish the basis of its belief. Thus, the Court is not required to accept
       as true “allegations that are merely conclusory, unwarranted deductions of fact, or
  27   unreasonable inferences.” In re Gilead Sciences Sec. Litig., 536 F.3d 1049, 1055 (9th
  28   Cir. 2008).
                                                   8
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   1 Co. v. Nationwide Mut. Ins. Co., 81 Cal.App.4th, 1082, 1089 (2000). Here, however,
   2 the allegation on which Travelers basis its remaining claim—that New York Marine
   3 provided an “inadequate defense”—is initially predicated upon Travelers’ already
   4 mistaken insistence that New York Marine was obligated to defend through
   5 independent counsel. In that regard, Travelers’ FAC alleges at paragraph 17 that New
   6 York Marine “appointed defense counsel of its choice and it repeatedly refused
   7 demands by the mutual insured and by Travelers to participate in the defense with
   8 counsel of the mutual insured’s choosing”. FAC, Dkt. #15, at ¶ 17. Only thereafter
   9 does it allege that New York Marine “compounded its breach of the duty to defend
  10 by” allegedly “having its appointed counsel do next to nothing…”. Id., at ¶ 18.
  11        It is apparently undisputed by Travelers that it is obligated to defend the
  12 insured through independent counsel, inasmuch as it admits that it has done so and
  13 continues to allege that New York Marine is also obligated to do so. See generally,
  14 FAC. However, as this Court has already determined, New York Marine “has no
  15 Cumis counsel obligation in connection with a Virginia attorney’s representation of
  16 its insured in a Virginia lawsuit.” Order, Dkt. #24, at pp. 8 (emphasis added). From
  17 Travelers’ allegations and the Court’s conclusion, it necessarily follows—contrary to
  18 the allegations of paragraphs 17 and 18 of Travelers’ FAC—that: (1) New York
  19 Marine did not “breach the duty to defend” by failing to appoint independent “Cumis”
  20 counsel; and (2) that as a consequence, New York Marine can have no shared
  21 obligation with Travelers to provide or fund a defense for the insured through
  22 “independent counsel”. See, Fed. Ins. Co. v. MBL, Inc., 219 Cal.App.4th 29, 48-49
  23 (2013).
  24        As a result, because Travelers and New York Marine are not jointly at “risk”
  25 to provide independent “Cumis” counsel, Travelers cannot state a claim for
  26 contribution against New York Marine grounded in the notion of a shared obligation
  27 to fund independent “Cumis” counsel with Travelers.
  28
                                               9
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   1                      b.    Since Defense Counsel Acts As An Independent
                                Contractor, A Negligent Defense Does Not Give Rise To
   2                            Liability On The Part Of New York Marine
   3         Here, it does not appear from the allegations of the FAC that Travelers is
   4 alleging that defense counsel merely negligently failed to fulfill their obligation to
   5 provide a thorough and competent defense to the insured. See, e.g., FAC, at ¶ 18
   6 (alleging that “New York Marine compounded its breach, by having appointed
   7 counsel …”) (emphasis added). Nevertheless, to the extent that Travelers’ allegation
   8 may be so read, in both California and Virginia, defense counsel—even when retained
   9 by the insurer—acts as an independent contractor. Merritt v. Reserve. Ins. Co., 34
  10 Cal.App.3d 858, 880 (1973); see also, In re A.H. Robins Co., 880 F.2d 709, 751 (4th
  11 Cir. 1989) (“The acts of counsel retained by Aetna to defend its insured Robins cannot
  12 be imputed to Aetna under any rule of respondeat superior.”) (abrogated on other
  13 grounds by Amchem Products, Inc. v. Windsor, 521 U.S. 591 (1997)); King v. Dalton,
  14 895 F.Supp. 831, 842 (E.D.Va. 1995) (stating that “a law firm attorney working with
  15 a client is nonetheless an independent contractor and not an employee of the client
  16 corporation”). As a consequence, an insurer is not vicariously liable for the
  17 malpractice or negligent conduct of defense counsel.
  18         Furthermore, since a claim for malpractice does not run to third-parties and is
  19 unassignable under both California and Virginia law, Travelers’ claim likewise
  20 cannot be sustained on that basis. Fireman’s Fund Ins. Co. v. McDonald, Hecht &
  21 Solberg, 30 Cal.App.4th 1373, 1378-1380 (1994) (“legal malpractice claims are
  22 generally not assignable”); at 1383-1384 (quoting Fifield Manor v. Finston, 54 Cal.2d
  23 632, 643 (1960), for the principle that “absent express statutory authorization,
  24 nonassignable claims are not subject to subrogation”, and no statute authorizes
  25 subrogation of legal malpractice claims); and at 1386-1387 (holding in turn that
  26 “regardless whether styled as a claim for subrogation, indemnity or contribution . . . .
  27 [the claim is] barred by the rule against assignment of legal malpractice claims.”); see
  28 also, Jackson v. Rogers, 210 Cal.App.3d 336, 347 (1989); Goodley v. Wank & Wank,
                                             10
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   1 Inc., 62 Cal.App.3d 389, 393-395 (1976); Va. Code Ann. § 8.01-26 (“Only those
   2 causes of action for damage to real or personal property, whether such damage be
   3 direct or indirect, and causes of action ex contractu are assignable. The provisions of
   4 this section shall not prohibit any injured party or his estate from making a voluntary
   5 assignment of the proceeds or anticipated proceeds of any court award or settlement
   6 as security for new value given in consideration of such voluntary assignment.”);
   7 Cardinal Holding Co. v. Deal, 522 S.E.2d 614, 618, 258 Va. 623, 629-630 (Va. 1999)
   8 (observing that “legal malpractice actions were not assignable at common law in
   9 Virginia” and upholding sanctions award against attorney who filed a malpractice
  10 claim on behalf of a purported assignee) (quoting Va. Code. Ann. § 8.01-26).
  11        Thus, since Travelers is not a party to the New York Marine policy, it is a
  12 stranger to that contract such that, as a matter of law, it has no standing to assert a
  13 claim for New York Marine’s purported breach of its duties to the insured, regardless
  14 how styled.
  15                     c.     Because New York Marine Owes No Duty To Travelers,
                                A Claim Cannot Be Stated By Travelers Against New
  16                            York Marine For Equitable Contribution On Account
                                Of Alleged Breaches Of Any Duties Owed By New York
  17                            Marine To The Insured
  18        Under California law, the duty of good faith runs between the insurer and
  19 insured, but does not run between one insurer and another. Safeway Stores, Inc.,
  20 supra, 26 Cal.3d 912, 918. Two related conclusions flow from this simple proposition.
  21 First, any claim by one insurer against another for the latter’s alleged breach of the
  22 policy or the covenant of good faith with respect to an insured arises only in
  23 subrogation. Safeway Stores, Inc., supra, 26 Cal.3d 912,918; Gulf Ins. Co. v. TIG Ins.
  24 Co., 86 Cal.App.4th 422, 432 (2001). Second, in the absence of any injury or damage
  25 suffered by the insured, no claim for subrogation arises. Gulf Ins. Co., supra, 86
  26 Cal.App.4th, 432.
  27        Here, whatever deficiencies Travelers alleges with respect to the defense
  28 provided by New York Marine, Travelers’ FAC concedes that the insured has
                                       11
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   1 received a defense in the underlying litigation. See, FAC, at ¶ 10 (“Travelers has paid
   2 the fees of the mutual insured’s independent defense counsel.”). And, as relevant here,
   3 under California law an insured suffers no damages—even as a result of an insurer’s
   4 wrongful failure to defend it—where a defense is provided by another insurer. Risely,
   5 supra, 183 Cal.App.4th 196, 210 (no damages result from insurer’s breach of duty to
   6 defend where “insured received a full and complete defense, notwithstanding” the
   7 breach); Emerald Bay Cmty. Ass’n v. Golden Eagle Ins. Corp., 130 Cal.App.4th 1078,
   8 1094 (2005) (where defending insurer “paid a portion of plaintiff’s legal expenses”
   9 before withdrawing from defense and a separate insurer “which concededly had an
  10 independent obligation to defend . . . paid the balance of those expenses . . . plaintiff
  11 cannot show it suffered any contract damages”); Horace Mann Ins. Co. v. Barbara
  12 B., 61 Cal.Ap.4th 158, 164 (1998) (“the failure of one insurer to defend is of no
  13 consequence to an insured whose representation is provided by another insurer”);
  14 Ceresino v. Fire Ins. Exch., 215 Cal.App.3d 814, 823 (1989).
  15         Since in the present instance, as in Risely, Emerald Bay, Horace Mann, and
  16 Ceresino, Travelers necessarily must concede that the insured has received a full and
  17 complete defense in the underlying action which it has provided, it is thus the case
  18 that the insured has suffered no damages. As a result, no claim for subrogation can
  19 arise to support Travelers’ claim against New York Marine for allegedly providing an
  20 “inadequate defense.” For that same reason, since the insured would have no damages
  21 upon which a claim for subrogation could be predicated, even an assignment of the
  22 insured’s rights would not suffice to provide Travelers with a valid claim.
  23         Moreover, where the insured refuses to accept the services of rightfully
  24 appointed defense counsel, no claim will lie against the appointing insurer for failing
  25 to participate in the defense. In Federal Ins. Co. v. MBL, Inc., 219 Cal.App.4th 29,
  26 35, the insured “refused to allow the Insurers' appointed counsel to associate as
  27 defense counsel, asserting it was entitled to independent counsel of its own choosing
  28 pursuant to Civil Code § 2860.” After MBL defended itself, one insurer—Great
                                           12
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   1 American—reimbursed MBL for its defense costs, while the remaining insurers
   2 refused. Id. MBL and Great American brought suit against the non-defending
   3 insurers, asserting various claims including, as relevant, a claim for equitable
   4 contribution by Great American. Id. However, observing “that MBL was not entitled
   5 to independent counsel,” and “thus none of the Insurers (including Great American)
   6 were ever obligated to reimburse MBL for the fees generated by that counsel”, the
   7 Court concluded that “Great American can only seek reimbursement for those fees
   8 from MBL, not the other Insurers.” Id., at 49. Here, as noted above, the record of
   9 correspondence between New York Marine, its appointed defense counsel and
  10 Travelers, establishes that the Cameron McEvoy, PLCC firm, which was initially
  11 retained by the insured and, following the insured’s tender, appointed by New York
  12 Marine as defense counsel, was in fact “cut out” of participation in the defense by
  13 independent counsel subsequently retained by the insured and funded by Travelers.
  14 See § B, infra; Roche Decl., ¶¶ 11-19, Exs. 2-5; Battaglia Decl., ¶¶ 5-14, Exs. 1-6.
  15 Accordingly, to the extent that such conduct amounts to a “refusal” of the defense
  16 through counsel rightfully appointed by New York Marine, it is also the case that
  17 neither the insured nor Travelers has a valid claim for “equitable contribution” against
  18 New York Marine.
  19                       d.     Travelers Also Cannot State A Valid Claim for
                                  Equitable Relief Because It Admits That New York
  20                              Marine Has Participated In The Insured’s Defense
  21           As set forth in New York Marine’s opening brief,6 California courts addressing
  22 claims for equitable contribution make clear that a valid claim for contribution cannot
  23 be predicated upon an argument that the targeted insurer’s assigned defense counsel
  24 merely did “less than their fair share” of the work. Rather, equitable contribution only
  25 applies where the insurer seeking contribution for defense costs “defended the action
  26 without any participation by the other [insurer].” Unigard, supra, 79 Cal.App.4th
  27
       6
  28       See, Memorandum of Points & Authorities, Dckt. #17-1, at pp. 22:27-23:9.
                                                 13
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   1 966, 974 (emphasis added, citing Maryland Casualty, supra, 65 Cal.App.4th 1279,
   2 1293)); Axis Surplus Ins. Co. v. Glencoe Ins., 204 Cal.App.4th 1214, 1221 (2012)
   3 (same); Safeco Ins. Co. v. Sup. Ct., 140 Cal.App.4th 874, 879 (2006) (same); Low v.
   4 Golden Eagle Ins. Co., 101 Cal.App.4th 1354, 1361 (2002) (same); Markel Ins. Co.
   5 v. Exec. Risk Indem., 2013 WL 12114020, at *3 (C.D.Cal. 2013) (same); Am. Home
   6 Assur. Co. v. State Farm Mut. Auto. Ins. Co., 2013 WL 1435197, at *3 (N.D.Cal.
   7 2013) (same).
   8         Since Travelers’ claim here is predicated on an allegation which concedes that
   9 New York Marine did provide a defense to the insured—just one that Travelers thinks
  10 was inadequate—it does not state a viable claim for relief.
  11                      e.     New York Marine’s “Intent” Has No Bearing On The
                                 Viability Of Travelers’ Claim For Equitable
  12                             Contribution
  13         At the January 27, 2022 Status Conference, this Court observed that although
  14 Travelers “would not have standing to argue ineffective assistance of counsel or
  15 something of that sort,” nevertheless, as the Court “understand[s] what [Travelers] is
  16 trying to do is . . . to argue that there was an affirmative position taken by the defense
  17 or by [New York Marine] not to provide a defense, and instead, to just simply and
  18 improperly rely on [Travelers’] appointed Cumis counsel.” January 27, 2022 Trans.,
  19 at pp. 4:4-4:11.
  20         The Court appears to correctly interpret Travelers’ argument—however, except
  21 to the extent that Travelers is actually asserting a claim for fraud (as addressed in
  22 more detail below), it makes no difference to the validity of its claim. In this respect,
  23 and as an initial matter, “intent” simply isn’t an element of a breach of contract—
  24 which on the face of the FAC and the parties’ respective arguments in response to the
  25 Court’s inquiries at the January 27, 2022 Status Conference, is what Travelers’ claim
  26 is predicated upon. Oasis West Realty, LLC v. Goldman, 51 Cal.4th 811, 820-821
  27 (2011) (“[T]he elements of a cause of action for breach of contract are (1) the
  28 existence of the contract, (2) plaintiff's performance or excuse for nonperformance,
                                                 14
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   1 (3) defendant's breach, and (4) the resulting damages to the plaintiff.”) (citing Reichert
   2 v. General Ins. Co., 68 Cal.2d 822, 830 (1968)); (cited in Mishiyev v. Alphabet, Inc.,
   3 857 Fed.Appx. 907, 907 (9th Cir. 2021) (Mem Opp.)); Walsh, v. West Valley Mission
   4 Cmty. Col. Dist., 68 Cal.App.4th 1532, 1545 (1998) (same) (cited in Neal v. Quality
   5 Loan Serv. Corp., 301 Fed.Appx. 679, 680 (9th Cir. 2008) upholding the District
   6 Court’s dismissal of breach of contract claims).
   7         Moreover, the California Supreme Court has expressly stated that “‘willful’
   8 breaches have not been distinguished from other breaches” under California law.
   9 Freeman & Mills, Inc. v. Belcher Oil Co., 11 Cal.4th 85, 98 (quoting Harris v. Atlantic
  10 Richfield Co., 14 Cal.App.4th 70, 77 (1993); see also, Tibbs v., Great Am. Ins. Co.,
  11 755 F.2d 1370, 1375 (9th Cir. 1985) (observing that “[u]nder California law, punitive
  12 damages are not available for breaches of contract no matter how gross or willful.”).
  13 Consequently, even if Travelers’ allegation were correct, it does not alter the analysis
  14 of its claim, much less convert a non-viable claim into a viable one.
  15         Fundamentally, Travelers’ attempt to recast an allegation that New York
  16 Marine breached its duty to provide an “adequate” defense for the insured as its own
  17 claim for “equitable contribution” would swallow the simple and well-established rule
  18 that only the parties to, or the direct intended beneficiaries of, a contract may state a
  19 claim predicated upon the enforcement of the contract. Travelers’ argument
  20 effectively invites this court to create a new cause of action—and in so doing, abrogate
  21 centuries of well-established contract law. The Court should decline to do so.
  22         B.    Correspondence Establishes That Travelers Cannot Plead “Facts”
                   Sufficient to Support Their Claim, Because The Allegations Of
  23               Paragraph 18 Of The FAC Upon Which Its Claim Is Predicated Are
                   Simply Not True
  24
             The record of correspondence between New York Marine, its appointed
  25
       defense counsel, and indeed Travelers itself establishes that not only are Travelers’
  26
       allegations untrue, but that Travelers was aware that Cameron McEvoy was being
  27
       “cut out” of the defense by the machinations of independent counsel (whom Travelers
  28
                                                 15
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   1 funded), but that Travelers nevertheless failed to require that independent counsel
   2 cooperate with Cameron McEvoy so as to permit that firm to participate actively in
   3 the insured’s defense.
   4           In this respect, the communications between New York Marine and Cameron
   5 McEvoy reflect that New York Marine went into the relationship with the justifiable
   6 expectation that Cameron McEvoy would be “lead counsel in the case”. Roche Decl.
   7 ¶ 10, Ex. 1; Battaglia Decl. ¶¶ 5-7, Ex. 1-3. Thus, although New York Marine’s
   8 correspondence acknowledged the need to “cooperate” with other counsel, it also
   9 stressed that “it needs to be clear that your firm is lead counsel.” Roche Decl. ¶ 10,
  10 Ex. 1; Battaglia Decl. ¶ 5, Ex. 1. That was made clear to Travelers in two separate
  11 emails on October 7, 2019 and November 13, 2019 on which Pamela Johnson, the
  12 Claims Professional handling the file for Travelers, was included. Battaglia Decl. ¶¶
  13 4-6, Exs. 2-3. New York Marine’s position with respect to Cameron McEvoy’s role
  14 was justifiable, both in light of the fact that Cameron McEvoy, PLLC was initially
  15 retained by the insured, and also in light of the proposition that an insurer which
  16 provides a defense without conflict is entitled to “control” the defense provided.7
  17 However, the record reflects that notwithstanding New York Marine’s intentions,
  18 throughout the representation, independent counsel consistently and repeatedly
  19 refused to cooperate with or permit the Cameron McEvoy firm’s active participation
  20 in the defense in ways both petty and profound. See, Roche Decl. ¶¶ 11-19, Exs. 2-5;
  21 Battaglia Decl. ¶¶ 8-13, Exs. 4-6. By way of example, in a May 11, 2020 email,
  22 defense counsel from Cameron McEvoy, PLLC observed that “[t]here is no division
  23 of labor. I'm effectively local counsel to Kaplan/Rottenborn and kept in the dark until
  24
  25   7
      James 3 Corp. v. Truck Ins. Exch., 91 Cal.App.4th 1093, 1105-1106 (2001); Safeco
  26 Ins. Co. v. Superior Court, 71 Cal.App.4th 782, 787 (1999) (“When the insurer
     provides a defense to its insured, the insured has no right to interfere with the insurer's
  27 control of the defense....”.); Wright v. Fireman’s Fund Ins. Cos., 11 Cal.App.3d 326,
  28 335 (1992).
                                                 16
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   1 help is needed. Requests for help often involve a local practice question or urgent
   2 filing deadlines. . . . [I]f there's supposed to be a division of labor, there is not one
   3 and it's impossible for me to get involved because I am not copied on emails, filings,
   4 status, strategy, etc”. Battaglia Decl. ¶¶ 9-10, Ex. 4. Subsequently, defense counsel
   5 observed that because they had been removed from routine correspondence and
   6 filings, they were not even informed that the Court had continued the trial date until
   7 they located the Order so providing on the court docket themselves. Roche Decl. ¶¶
   8 14.
   9         In fact, the record reflects that Cameron McEvoy actively sought assistance to
  10 obtain independent counsel’s cooperation, most notably from Travelers itself. See,
  11 Roche Decl. ¶¶ 14-15, Ex. 3; Battaglia Decl. ¶¶ 10, Ex. 4. In this respect, Ms. Johnson
  12 of Travelers herself expressed concerns regarding the lack of cooperation and
  13 personally purportedly made efforts to obtain independent counsel’s cooperation with
  14 Cameron McEvoy. Roche Decl., ¶¶ 14-15, Ex. 3. On at least one occasion Ms.
  15 Johnson directly addressed the issue with independent counsel, but as her own March
  16 21, 2020 email to Cameron McEvoy admits, that conversation “did not go well”.
  17 Roche Dec., ¶ 15, Ex. 3. In fact, as reflected in numerous subsequent emails from
  18 Cameron McEvoy to New York Marine, independent counsel never cooperated with
  19 Cameron McEvoy. Roche Decl. ¶¶ 11-19, Ex. 2-5; Battaglia Decl. ¶¶ 8-13, Exs. 4-6.
  20 As a result, Cameron McEvoy ultimately requested and was granted leave to withdraw
  21 as counsel on November 6, 2020, out of concern that independent counsel’s consistent
  22 pattern of omitting them from correspondence, pleadings, and from strategic and
  23 tactical decisions both great and small not only rendered their participation futile, but
  24 exposed the firm itself to potential malpractice claims on account of decisions in
  25 which they had no say or involvement. Roche Decl. ¶¶ 19, Ex. 5; Battaglia Decl. ¶¶
  26 12-13, Ex. 6.
  27         Notably, under California law, Travelers could have legally required
  28 independent counsel to cooperate with Cameron McEvoy had it truly desired to
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   1 facilitate Cameron McEvoy’s full participation in the insured’s defense. See,
   2 Assurance Co. of Am. v. Haven, 32 Cal.App.4th 78, 88-89 (insurer may sue
   3 independent counsel to enforce compliance of its obligations of cooperation and
   4 disclosure under Civil Code § 2860(d) and (f)); Fidelity Nat’l Financial, Inc. v. Nat’l
   5 Union Fire Ins. Co., Case no. 09-CV-140-GPC-KSC, 2014 WL 1393743 *7 (S.D.Cal.
   6 April 9, 2014) (“Indeed, the insurer can sue the Cumis counsel who negligently
   7 breaches his statutory duties.”) (citing Assurance, supra). Plainly, however, it did not
   8 elect to do so.
   9         Given the foregoing, Travelers’ claims should be dismissed on the basis that
  10 the communications between the parties, admissible pursuant to the “incorporation by
  11 reference” doctrine, reveal them to be without basis.
  12         C.    Since Travelers’ Allegations Essentially Amount To A Claim Of
                   Fraud, They Are Not Stated With Sufficient Factual “Specificity”
  13               And Therefore Must Be Dismissed
  14         As observed above, in addition to the allegations concerning the allegedly
  15 “inadequate defense” stated at paragraph 18 of Travelers’ FAC, Travelers also alleges
  16 that New York Marine “has indicated that after trial, it will likely attempt to deny
  17 coverage for any award against the mutual insured based on its reservation of rights”,
  18 and thereafter alleges that New York Marine’s conduct was “deceptive”. FAC, at ¶¶
  19 24, 26. In addition, Travelers alleges that New York Marine, while purporting to
  20 defend, actually had its defense counsel “do next to nothing and ‘piggy-back’ on the
  21 work of the mutual insured’s independent defense counsel paid for by Travelers. FAC
  22 ¶ 18.
  23         Thus, read as a whole, the gravamen of Travelers’ claims as alleged in
  24 paragraphs 18, 24 and 26 of the FAC may fairly be read to attempt to support the
  25 “contribution” claim by making allegations of fraud, inasmuch as the allegations
  26 suggest that New York Marine has made statements and/or purported to undertake a
  27 duty to its insured which, in actuality, it had and has no intention of fulfilling. See,
  28 Miller v. Nat’l Am. Life Ins. Co., 54 Cal.App.3d 331, 338 (1976) (“It is well settled
                                              18
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   1 that a ‘promise made with no intention of performing is actionable fraud where the
   2 other party relies upon it as an inducement to enter into an agreement.’”) (quoting
   3 Brockway v. Heilman, 250 Cal.App.2d 807, 811 (1967).
   4        As this Court doubtless well knows, Rule 9(b) of the Federal Rules of Civil
   5 Procedure “requires that, when fraud is alleged, a party must state with particularity
   6 the circumstances constituting fraud...”. Kearns, supra, 567 F.3d 1120, 1124. Thus,
   7 “Rule 9(b) demands that the circumstances constituting the alleged fraud “be ‘specific
   8 enough to give defendants notice of the particular misconduct ... so that they can
   9 defend against the charge and not just deny that they have done anything wrong.’” Id.
  10 (quoting Bly-Magee v. California, 236 F.3d 1014, 1019 (9th Cir. 2001); Neubronner
  11 v. Milken, 6 F.3d 666, 671 (9th Cir. 1993) (same). To satisfy this standard, courts
  12 including the Ninth Circuit have stated that “[a]verments of fraud must be
  13 accompanied by ‘the who, what, when, where, and how’ of the misconduct charged.”
  14 Kearns, supra, 567 F.3d at 1124 (quoting Vess, supra, 317 F.3d 1097, 1102 (9th Cir.
  15 2003)); Cooper v. Pickett, 137 F.3d 616, 627 (9th Cir. 1997) (same).
  16        There are several reasons for this rule, including the usual concerns regarding
  17 notice and avoiding the use of such allegations as a “pretext for the discovery of
  18 unknown wrongs”; but most notable is the interest in “‘prohibit[ing] [] plaintiff[s]
  19 from unilaterally imposing upon the court, the parties and society enormous social
  20 and economic costs absent some factual basis.” Kearns, supra, 567 F.3d at 1125
  21 (quoting In re Stac Elecs. Sec. Litig., 89 F.3d 1399, 1405 (9th Cir. 1996); Semegen v.
  22 Weidner, 780 F.2d 727, 731 (9th Cir. 1985) (same).
  23        Accordingly, if this Court believes that Travelers’ allegations may suffice to
  24 state a legally viable claim, it should at least require that Travelers plead those
  25 allegations with the necessary “specificity” required by Rule 9(b): “the who, what,
  26 when, where, and how’ of the misconduct charged”, lest Travelers be permitted to
  27 “impos[e] upon th[is] court, the parties and society” the “enormous social and
  28 economic costs” of adjudicating its claims without even a scintilla of “factual basis”
                                              19
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   1 in the service of its own ends. Kearns, supra, 567 F.3d at 1124, 1125.
   2 III.          CONCLUSION
   3               For the reasons given in New York Marine’s moving papers, its reply, this
   4 Court’s own well-reasoned Order of January 6, 2022, and the additional matters set
   5 forth herein, the Court should order Travelers’ claims dismissed without leave to
   6 amend.8 Alternatively, if the Court believes there may be some basis upon which
   7 Travelers’ allegations may suffice to support its claim for equitable contribution, it
   8 should require Travelers to amend its complaint in order to more clearly allege the
   9 factual basis of its claims consistent with the requirements of the Federal Rules of
  10 Civil Procedure which require, at minimum, sufficient factual allegations establishing
  11 the plausibility of the claim under Rule 8 and, if construed as a claim for fraud,
  12 “specific” factual averments including the “who, what, when, where and how” of the
  13 alleged misconduct under Rule 9(b).
  14 Dated: February 7, 2022                     McCORMICK, BARSTOW, SHEPPARD,
                                                     WAYTE & CARRUTH LLP
  15
  16
                                               By:            /s/ James P. Wagoner
  17
                                                             James P. Wagoner
  18                                                           Lejf E. Knutson
                                                          Nicholas H. Rasmussen
  19
                                                          Graham A. Van Leuven
  20                                           Attorneys for Defendant New York Marine and
                                                        General Insurance Company
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       8
  26  In this regard, both at the hearing at the Motion to Dismiss on December 13, 2021,
     and during the Status Conferences on January 20, 2022 and January 27, 2022,
  27 Travelers made clear that it did not want leave to amend. Dec. 13, 2021 Hearing
  28 Trans., Dkt. #27, at pp. 3:24-4:8; January 27, 2022 Trans., at pp. 4:4-4:11.
                                                20
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   1                                 PROOF OF SERVICE
   2   Travelers Commercial Insurance Company v. New York Marine and General
                                 Insurance Company
   3
       STATE OF CALIFORNIA, COUNTY OF FRESNO
   4
            At the time of service, I was over 18 years of age and not a party to this action.
   5 I am employed in the County of Fresno, State of California. My business address is
     7647 North Fresno Street, Fresno, CA 93720.
   6
            On February 7, 2022, I served true copies of the following document(s)
   7 described as DEFENDANT NEW YORK MARINE AND GENERAL
     INSURANCE COMPANY’S FURTHER BRIEFING IN RESPONSE TO
   8 TRAVELERS’ “REQUEST FOR FURTHER ORDER” on the interested parties
     in this action as follows:
   9
     Mark D. Peterson
  10 Kathleen O. Peterson
     Amy Howse
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  12 Newport Beach, CA 92660
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  15 Attorneys     for   Plaintiff    Travelers
     Commercial Insurance Company
  16
            BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
  17 the document(s) with the Clerk of the Court by using the CM/ECF system.
     Participants in the case who are registered CM/ECF users will be served by the
  18 CM/ECF system. Participants in the case who are not registered CM/ECF users will
     be served by mail or by other means permitted by the court rules.
  19
            I declare under penalty of perjury under the laws of the United States of
  20 America that the foregoing is true and correct and that I am employed in the office of
     a member of the bar of this Court at whose direction the service was made.
  21
            Executed on February 7, 2022, at Fresno, California.
  22
  23
                                                       /s/ Heather Ward
  24                                              Heather Ward
  25
  26
  27
  28

       DEFENDANT NEW YORK MARINE AND GENERAL INSURANCE COMPANY’S FURTHER BRIEFING IN
                    RESPONSE TO TRAVELERS’ “REQUEST FOR FURTHER ORDER”
